                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

 SHIVA STEIN,                                    )
                                                 )
                        Plaintiff,               )
                                                 )   Case No. 1:19-cv-01289-CFC
        v.                                       )
                                                 )   JURY TRIAL DEMANDED
 TABLEAU SOFTWARE, INC., ADAM                    )
 SELIPSKY, BILLY BOSWORTH, BROOKE                )   CLASS ACTION
 SEAWELL, CHRISTIAN CHABOT,                      )
 CHRISTOPHER STOLTE, ELLIOTT                     )
 JURGENSEN, JR., GERRI MARTIN-                   )
 FLICKINGER, HILARIE KOPLOW-                     )
 MCADAMS, JOHN MCADAM, AND                       )
 PATRICK HANRAHAN,                               )
                                                 )
                        Defendants.              )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Shiva

Stein (“Plaintiff”) hereby voluntarily dismisses the above-captioned action (the “Action”) with

prejudice. Defendants have filed neither an answer nor a motion for summary judgment in the

Action, and no class has been certified.

 Dated: August 28, 2019                              RIGRODSKY & LONG, P.A.

                                              By: /s/ Brian D. Long
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